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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

                                                 §
   IMPLICIT, LLC,
                                                 §
               Plaintiff,                        §
          v.                                     §          Case No. 2:19-cv-00040-JRG-RSP
                                                 §          LEAD CASE
   IMPERVA, INC.,                                §
               Defendant.                        §
                                                 §
                                                 §
   IMPLICIT, LLC,
                                                 §
               Plaintiff,                        §
          v.                                     §          Case No. 2:19-cv-00037-JRG-RSP
                                                 §          CONSOLIDATED CASE
   JUNIPER NETWORKS, INC.,                       §
               Defendant.                        §
                                                 §
                                                 §
   IMPLICIT, LLC,
                                                 §
               Plaintiff,                        §
          v.                                     §          Case No. 2:19-cv-00039-JRG-RSP
                                                 §          CONSOLIDATED CASE
   FORTINET, INC.,                               §
               Defendant.                        §
                                                 §

                                              ORDER

         Before the Court is Defendant Fortinet, Inc.’s (“Fortinet”) Motion to Stay Pending

  Sandvine Appeal and Resolution of Fortinet’s Pending Motions to Transfer (“Motion to Stay”).

  Dkt. No. 202. This Motion to Stay was filed on January 23, 2020. Id. This Motion to Stay is related

  to Fortinet’s Supplemental Motion to Transfer Venue to the District of Delaware (Dkt. No. 185),

  co-Defendant Juniper Networks, Inc.’s (“Juniper”) Supplemental Sealed Motion to Transfer

  Venue to the District of Delaware (Dkt. No. 164), and Juniper’s Motion to Stay Pending Decision

  on Transfer Motions (Dkt. No. 174). Each of these related motions were set for hearing before the

  undersigned on February 6, 2020, at 1:30 PM.

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  .
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         The Court ORDERS that Fortinet’s Motion to Stay (Dkt. No. 202) shall also be set for

  hearing on February 6, 2020, at 1:30 PM. It is further ORDERED that briefing on Fortinet’s

  Motion to Stay be expedited. Any response in opposition from Plaintiff Implicit, LLC (“Implicit”)

  shall be filed by Monday, February 3, 2020. Any reply brief from Fortinet shall be filed by

  Tuesday, February 4, 2020. Any sur-reply brief from Implicit shall be filed by Wednesday,

  February 5, 2020.
         SIGNED this 3rd day of January, 2012.
         SIGNED this 24th day of January, 2020.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE




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